      Case 4:22-cv-00073-O Document 33 Filed 12/28/22              Page 1 of 2 PageID 376



                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 ROI DEVELOPERS, INC.                            §
                                                 §
      Plaintiff,                                 §
                                                 §
 v.                                              §    Civil Action No. 4:22-CV-00073-O
                                                 §
 ATHENA BITCOIN, INC.                            §
                                                 §
      Defendant.                                 §

                                             ORDER

         Before the Court is Defendant’s Unopposed Motion to Seal Pleading (ECF No. 32), filed

December 27, 2022. The parties’ settlement papers in this case are due no later than February 28,

2023. To facilitate settlement, Defendant wishes to seal the depositions of Shaun Overton and Eric

Gravengaard so that such information may not be used by any others than the parties to this

litigation and the Court. The Court notes that the Exhibits Defendant wishes to seal are already

filed under seal on the docket. See ECF No. 15. However, Defendant asks that the deposition

testimonies “be ordered sealed and not be available for viewing by any person other than the parties

to this proceeding or the Court.” ECF No. 32. To the extent that Defendant wishes to turn an

agreement of the parties (this motion is unopposed) into a Court order, the Court declines to do so.

The Court ordinarily declines such requests, given that the parties may agree to any confidentiality

or discovery-related contract among themselves without devoting judicial resources to the matter.

See Davis v. City of Fort Worth, No. 4:14-cv-491-A, 2014 WL 12940678, at *3, *3 n.3 (N.D. Tex.

July 3, 2014).

         Thus, having considered Defendant’s motion, and for the reason stated, the Court DENIES

the motion in part. However, the Court DIRECTS the Clerk to ensure that Exhibits 3 and 4 in
   Case 4:22-cv-00073-O Document 33 Filed 12/28/22           Page 2 of 2 PageID 377



support Defendant’s Appendix in Support of its Motion for Summary Judgment (ECF No. 15)

remain sealed on the docket to protect the confidential nature of any disclosed information

presented therein.

       SO ORDERED on this 28th day of December, 2022.

                                                     _____________________________________
                                                     Reed O’Connor
                                                     UNITED STATES DISTRICT JUDGE




                                            2
